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                                                  #:170408

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                    [Counsel appearance continues on next page]
           15
                   Attorneys for Defendant Apple Inc.
           16
                                    UNITED STATES DISTRICT COURT
           17
                          CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           18
                    MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           19       a Delaware corporation; and
                    CERCACOR LABORATORIES, INC.,
           20       a Delaware corporation,
                                                                  DECLARATION OF NORA
           21                          Plaintiffs,                PASSAMANECK IN SUPPORT OF
                                                                  APPLE’S OPPOSITION TO
           22             v.                                      PLAINTIFFS’ MOTION FOR
                                                                  PROTECTIVE ORDER
           23       APPLE INC.,
                    a California corporation,
           24
                                       Defendant.
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                           PASSAMANECK DECL. ISO APPLE’S OPPOSITION TO MOTION FOR PROTECTIVE ORDER
Wilmer Cutler
                                              CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
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                           PASSAMANECK DECL. ISO APPLE’S OPPOSITION TO MOTION FOR PROTECTIVE ORDER
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and Dorr LLP
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                                                  #:170410

             1      I, Nora Passamaneck, declare and state as follows:
             2            1.    I am a partner at the law firm of Wilmer Cutler Pickering Hale and Dorr
             3      LLP, counsel for Defendant Apple Inc. (“Apple”) in the above-captioned matter.
             4            2.    I make this Declaration in support of Apple’s Opposition to Plaintiffs’
             5      Motion for a Protective Order Precluding Defendant from Disclosing Plaintiffs’
             6      Confidential Materials to Dr. Patrick Mercier.
             7            3.    I have personal knowledge of the facts stated herein and, if called upon to
             8      do so, could and would competently testify thereto.
             9            4.    Attached hereto as Exhibit J is the Declaration of Patrick Mercier, Ph.D.
           10             I declare under penalty of perjury that the foregoing and the statements in my
           11       Reports are true and correct to the best of my knowledge.
           12             Executed this 28th day of June 2024.
           13
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           15                                             By: /s/ Nora Passamaneck
           16                                             Nora Passamaneck
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                               PASSAMANECK DECL. ISO APPLE’S OPPOSITION TO MOTION FOR PROTECTIVE
Wilmer Cutler
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Pickering Hale
and Dorr LLP
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                                 #:170411




                     EXHIBIT J
                 Case 8:20-cv-00048-JVS-JDE Document 1987-4 Filed 06/30/24 Page 5 of 8 Page ID
                                                  #:170412

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           15       Attorneys for Defendant Apple Inc.
           16                       UNITED STATES DISTRICT COURT
           17             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           18       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           19       CERCACOR LABORATORIES, INC.,
                    a Delaware corporation,
           20                                                     DECLARATION OF PATRICK
                                        Plaintiffs,               MERCIER, PH.D. IN SUPPORT OF
           21                                                     APPLE’S OPPOSITION TO
                          v.                                      PLAINTIFFS’ MOTION FOR
           22                                                     PROTECTIVE ORDER
                    APPLE INC.,
           23       a California corporation,
           24                           Defendant.
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                               MERCIER DECL. ISO APPLE’S OPPOSITION TO MOTION FOR PROTECTIVE ORDER
Wilmer Cutler
                                                CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
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                                                  #:170413

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                                                  #:170414

             1      I, Patrick Mercier, Ph.D., declare and state as follows:
             2            1.     I am over 21 years old and am competent to testify about the matters in this
             3      Declaration based on my personal knowledge.
             4            2.     I am a full professor of Electrical and Computer Engineering at the
             5      University of California, San Diego (“UCSD”).
             6            3.     I earned a Bachelor of Science degree in electrical and computer
             7      engineering from the University of Alberta in Edmonton, AB, Canada in 2006. I earned
             8      my Master of Science and Ph.D. degrees in electrical engineering and computer science
             9      from the Massachusetts Institute of Technology (“MIT”) in 2008 and 2012, respectively.
           10             4.     I have been retained by Apple in connection with claims that have been
           11       asserted regarding U.S. Patent Nos. 10,433,776 and 8,457,703, both titled “Low Power
           12       Pulse Oximeter.” Pulse oximeters like those described in the ’776 and ’703 patents are
           13       optical sensors.
           14             5.     Although I have extensive knowledge of optical sensors, and power
           15       management techniques used in optical sensors, I have not worked with any companies
           16       to develop optical sensors for commercial applications or products.
           17             6.     As part of my work at UCSD, I am co-Director of the UCSD’s Center for
           18       Wearable Sensors (the “Center”). The Center is an academic and research-focused
           19       organization that brings together UCSD faculty, students, and other researchers in
           20       various fields, including sensors, low-power circuits, materials, electrochemistry,
           21       bioengineering, wireless network technologies, preventive medicine, and life sciences.
           22       The Center and UCSD do not use the Center’s academic research to develop any
           23       commercial products or applications for industry.
           24             7.     The Center receives funding from a number of industry partners that
           25       contribute on a donation basis. The Center pools such donations and distributes funds
           26       in response to requests for proposals submitted by UCSD faculty.
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                               MERCIER DECL. ISO APPLE’S OPPOSITION TO MOTION FOR PROTECTIVE ORDER
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             1            8.      I understand that Plaintiffs have inquired about the Center’s partnerships
             2      with Dexcom, Samsung, and Google. Samsung and Google are not currently industry
             3      partners of the Center. Dexcom is a current industry partner of the Center, and focuses
             4      on glucose monitoring via wearable micro-needle platforms involving electrochemical
             5      sensing. To the best of my knowledge, Dexcom does not develop products with optical
             6      sensors for physiological monitoring.
             7            9.      Outside of my work at UCSD, I am also a member of the Scientific
             8      Advisory Board of NeuroVigil. NeuroVigil develops non-invasive brain monitors using
             9      EEG monitoring, not optical sensing. Generally speaking, my role and responsibilities
           10       as a board member of NeuroVigil involves reviewing and evaluating hardware design
           11       for EEG monitoring devices. I am not an officer, director, or employee of NeuroVigil,
           12       and am not involved in any competitive decision making for the company.
           13             10.     I have read the Protective Order entered in this action and signed its Exhibit
           14       A, acknowledging and declaring that I agree to be bound by the terms of the Order and
           15       consent to the jurisdiction of said Court for the purpose of any proceeding to enforce the
           16       terms of the Order. I take this acknowledgment very seriously and will abide by the
           17       terms of the Order.
           18             I declare under penalty of perjury that the foregoing and the statements in my
           19       Reports are true and correct to the best of my knowledge.
           20             Executed this 28th day of June 2024.
           21
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           23                                               By:
           24                                               Patrick Mercier, Ph.D.
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                                MERCIER DECL. ISO APPLE’S OPPOSITION TO MOTION FOR PROTECTIVE ORDER
Wilmer Cutler
                                                 CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
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